                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                      AT KNOXVILLE


UNITED STATES OF AMERICA,                              )
                                                       )
                       Plaintiff,                      )
                                                       )       No. 3:07-CR-134
V.                                                     )       (VARLAN/GUYTON)
                                                       )
BRADLEY MARS,                                          )
                                                       )
                       Defendant.                      )


                                MEMORANDUM AND ORDER

       This matter came before the Court on October 29, 2007, for a hearing on the defendant’s

Motion to Transfer From Blount County Jail to Knox County Jail For Medical Purposes [Doc. 40]

filed on October 29, 2007. Assistant United States Attorney David C. Jennings was present for the

government. Chris Oldham, attorney, was present for the defendant Bradley Michael Mars, who

also was present.

       In the motion, the defendant claims that he has been diagnosed with Phlebitis, a medical

condition, which requires treatment. In addition, the defendant alleges that he has an open wound

on his arm which requires antibiotic treatment to protect against infection, and that he is not

receiving his medications. Finally, the defendant asserts that the Knox County jail would provide

better medical attention than he currently is receiving in the Blount County jail, and further, that he

is required to sleep on the floor at the Blount County jail.

       For its response to the motion, the government deferred to the United States Marshal Service.

Warren Mays, Supervisory Deputy United States Marshal in Knoxville, testified as follows:




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               That the defendant does not sleep on the floor, but he sleeps on a
               plastic sled fitted with a mattress of the same size as would be on a
               standard bed in the jail; that the defendant is being housed in the
               medical unit at Blount County Jail; that when the defendant was first
               admitted to the Blount County Jail, he was taken immediately to the
               Emergency Room; that the defendant’s hand was operated on for an
               abscess in the Emergency Room; that the surgery was successful; that
               the defendant was prescribed antibiotics and pain medications
               following the surgery; that the Blount County Jail has records
               showing that the defendant has been receiving his prescribed
               medications as ordered by the doctor; and that the defendant has a
               follow up examination by the surgeon on October 30, 2007.

       The Court finds that the testimony of Mays is credible and was not impeached at the hearing.

Accordingly, the Court will find that the defendant is receiving reasonable and adequate medical

attention and care at the Blount County jail, and that there are no grounds to order a transfer of the

defendant to the Knox County jail for medical purposes.

       Therefore, the Court finds that the Defendant’s Motion To Transfer From Blount County Jail

To Knox County Jail For Medical Purposes [Doc. 40] is not well-taken and it is DENIED.

       IT IS SO ORDERED

                                                      ENTER:


                                                           s/ H. Bruce Guyton
                                                      United States Magistrate Judge




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